     Case 1:21-cr-00142-TWT-CMS Document 44 Filed 06/10/22 Page 1 of 4




            IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION
___________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
  v.                                ) No.: 1:21-CR-00142-TWT-CMS
                                    )
DANIEL T. MILLER,                   )
   Defendant.                       )
___________________________________ )

           MOTION TO CONTINUE PRETRIAL CONFERENCE
             AND DEADLINE FOR PRETRIAL MOTIONS

      COMES NOW the Defendant above-named, by and through undersigned

counsel, and moves this Court to enter an Order Continuing the Pretrial Conference

and Deadline for Pretrial Motions, in the above-captioned matter. In support thereof,

Defendant shows as follows:

      1. The Defendant’s Pretrial Conference is scheduled for June 13, 2022, at

10:00 a.m. and pretrial motions are currently due on or before June 10, 2022, in the

above-captioned matter.

      2. Discovery in this matter is voluminous and undersigned counsel will need

additional time for his review of said discovery and to file any pretrial motions on

Mr. Miller’s behalf.

      3. The Defendant requests that the Court grant his request and enter an Order

to continue the Pretrial Conference to a later date and allow him thirty (30) days

                                         1
     Case 1:21-cr-00142-TWT-CMS Document 44 Filed 06/10/22 Page 2 of 4




from June 10, 2022, in which to file pretrial motions and to exclude the amount of

time pursuant to the provisions of the Speedy Trial Act.

      4. Undersigned attempted to contact AUSA, Calvin Leipold, but as of the time

of this filing has not received a response.

      WHEREFORE, based upon the within and foregoing, the Defendant requests

that this Motion to Continue Pretrial Conference and Deadline for Pretrial Motions

be granted and to exclude the time pursuant to the provisions of the Speedy Trial Act

pursuant to 18 U.S.C. § 3161 (7)(A).

      This 10th day of June 2022.


                                        Respectfully submitted,


                                        /s/ Bruce S. Harvey
                                        LAW OFFICE OF BRUCE S. HARVEY
                                        ATTORNEY FOR DEFENDANT
                                        Bruce S. Harvey, #335175
                                        bruce@bharveylawfirm.com
                                        146 Nassau Street, NW
                                        Atlanta, Georgia 30303
                                        (404) 659-4628




                                              2
     Case 1:21-cr-00142-TWT-CMS Document 44 Filed 06/10/22 Page 3 of 4




                         CERTIFICATE OF SERVICE

      This is to certify that I have this day served a copy of the within and foregoing

Motion to Continue Pretrial Conference and Deadline for Pretrial Motions using the

Court’s CM/ECF system which will deliver a copy to all registered to receive service

via CM/ECF, addressed as follows:

                          Calvin Leipold AUSA
                          Office of the United States Attorney-ATL 600
                          600 United States Courthouse
                          75 Ted Turner Dr., S.W.
                          Atlanta, GA 30303

      This 10th day of June 2022.

                                       /s/ Bruce S. Harvey
                                       LAW OFFICE OF BRUCE S. HARVEY
                                       ATTORNEY FOR DEFENDANT
                                       Bruce S. Harvey, #335175
                                       bruce@bharveylawfirm.com
                                       146 Nassau Street, NW
                                       Atlanta, Georgia 30303
                                       (404) 659-4628




                                          3
     Case 1:21-cr-00142-TWT-CMS Document 44 Filed 06/10/22 Page 4 of 4




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION
__________________________________
                                   )
UNITED STATES OF AMERICA,          )
                                   )
  v.                               ) No.: 1:21-CR-00142-TWT-CMS
                                   )
DANIEL T. MILLER,                  )
     Defendant.                    )
__________________________________ )

                                     ORDER

      For good cause shown, the motion by the Defendant to continue the pretrial

conference and deadline for pretrial motions is GRANTED. The pretrial conference

is re-scheduled to the ____ day of _______________, 2022, at _____ __.m. The

defendant shall have until ____ day of _______________, 2022, to file any pretrial

motions.

      The Court finds that the ends of justice in permitting this continuance

outweighs the Defendant’s and public’s interest in a speedy trial, and thus the Court

directs that all time from the ____ day of ______________, 2022, through the ____

day of _______________, 2022, be excluded from Speedy Trial calculations, 18

USC §3161.

      SO ORDERED, this ____ day of ______________, 2022.

                                       ____________________________________
                                       HON. CATHERINE M. SALINAS
                                       UNITED STATES MAGISTRATE JUDGE
                                          4
